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  17                           SOUTHERN DISTRICT OF CALIFORNIA
  18 DARRYL DUNSMORE, ERNEST                              Case No. 3:20-cv-00406-AJB-WVG
     ARCHULETA, ANTHONY EDWARDS,
  19 REANNA LEVY, JOSUE LOPEZ,                            MEMORANDUM OF POINTS
     CHRISTOPHER NELSON,                                  AND AUTHORITIES IN
  20 CHRISTOPHER NORWOOD, and                             SUPPORT OF PLAINTIFFS’
     LAURA ZOERNER, on behalf of                          MOTIONS FOR PRELIMINARY
  21 themselves and all others similarly situated,        INJUNCTION AND
                 Plaintiffs,                              PROVISIONAL CLASS
  22                                                      CERTIFICATION
          v.
  23 SAN DIEGO COUNTY SHERIFF’S                           Judge:       Hon. Anthony J. Battaglia
     DEPARTMENT, COUNTY OF SAN                            Date: June 16, 2022
  24 DIEGO, CORRECTIONAL
     HEALTHCARE PARTNERS, INC.,                           Time: 2:00 p.m.
  25 LIBERTY HEALTHCARE, INC., MID-                       Ctrm.: 4A
     AMERICA HEALTH, INC., LOGAN
  26 HAAK, M.D., INC., SAN DIEGO
     COUNTY PROBATION DEPARTMENT,
  27 and DOES 1 to 20, inclusive,
  28             Defendants.
       [3892284.19]                                                Case No. 3:20-cv-00406-AJB-WVG
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   3     CLERB              Citizens’ Law Enforcement Review Board
         DRC                Disability Rights California
   4     EOH                Enhanced Observation Housing
   5     LACSD              Los Angeles County Sheriff’s Department
   6     MAT                Medication-Assisted Treatment
         NCCHC              National Commission on Correctional Health Care
   7
         OPSD               Outpatient Step Down
   8     PLRA               Prison Litigation Reform Act
   9     PC                 Protective Custody
         PSU                Psychiatric Stabilization Unit
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         SDSD               San Diego County Sheriff’s Department
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   1                                            INTRODUCTION
   2                  The crisis of people dying and suffering inside the San Diego County Jail
   3 system (“Jail”) is urgent and undeniable. For years, the Jail’s death rate has
   4 exceeded death rates nationally and in other large California jails. Last year, 18
   5 people died at the Jail, amounting to a death rate of 454 incarcerated people per
   6 100,000—approximately triple the national jail rate. On February 3, 2022, the
   7 California State Auditor issued a scathing indictment of those responsible for the
   8 welfare of people confined at the Jail, concluding that “the Sheriff’s Department has
   9 failed to adequately prevent and respond to the deaths of individuals in its custody.”
  10 Declaration of Van Swearingen (“Swearingen Decl.”) ¶ 3, Ex. B (San Diego County
  11 Sheriff’s Department: It Has Failed to Adequately Prevent and Respond to the
  12 Deaths of Individuals in Its Custody (“State Audit Report”)) at iii. The State
  13 Auditor warned that until “systemic deficiencies” are remedied, “the weaknesses in
  14 [the Sheriff’s Department’s] policies and practices will continue to jeopardize the
  15 health and lives of the individuals in its custody.” Id. ¶ 3, Ex. B at 4, 53.
  16                  In the three months since the State Audit Report issued, another eight people
  17 died in custody. Swearingen Decl. ¶ 6, Ex. E. If these trends continue, 24 people
  18 will die by year’s end, significantly more than last year. Defendants San Diego
  19 County Sheriff’s Department (“SDSD”), County of San Diego (with SDSD,
  20 “County Defendants”), Correctional Healthcare Partners, Inc., and Liberty
  21 Healthcare, Inc. (collectively, “Defendants”) have failed to remedy dangerous and
  22 deadly conditions despite many warnings over many years by many experts and
  23 public officials. As deaths mount, families are left to grieve with no explanation
  24 from the billion dollar County entities and their private contractors who are
  25 responsible. The extraordinarily high number of in-custody deaths and misery at the
  26 Jail will continue without this Court’s intervention.
  27                  Plaintiffs respectfully ask the Court to enter a targeted preliminary injunction
  28 to ameliorate inadequate and harmful policies, procedures, practices, and training at
       [3892284.19]
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   1 the Jail pertaining to: (1) the prevention of drug overdose deaths; (2) adequate and
   2 timely safety checks; (3) audio intercom and video surveillance systems, and related
   3 staff responses to emergencies; (4) the consideration of mental health staff’s
   4 clinically-based recommendations for people with mental health needs; (5) the
   5 provision of mental health care in confidential settings; and (6) the provision of safe
   6 and accessible housing and programming to people with mobility disabilities.
   7 Plaintiffs’ Proposed Order asks that the Court permit Plaintiffs and their experts to
   8 monitor Defendants’ compliance. Swearingen Decl., ¶ 2, Ex. A . Plaintiffs also
   9 seek provisional class certification as described infra at 31-35.
  10                  The systemic failures targeted through these motions threaten the lives and
  11 safety of incarcerated people, and have been recognized by experts and oversight
  12 entities as particularly harmful.1 All people incarcerated in the Jail are exposed to
  13 the same policies and practices that create these problems, and, as described in
  14 putative class members’ declarations, face irreparable harm.
  15                                       STATEMENT OF FACTS
  16                  Following the shocking number of Jail deaths in recent years, oversight
  17 agencies, experts, journalists, community groups, and family members have
  18 repeatedly sounded the alarm, demanding many of the reforms this motion seeks in
  19 order to protect San Diego County residents from suffering and dying due to
  20 Defendants’ deliberate indifference. The San Diego Grand Jury issued reports
  21 finding the Jail’s body scanner and video surveillance technology deficient, which in
  22
       1
  23     Plaintiffs submit declarations of 24 brave incarcerated people who have
       experienced, and continue to face, serious harm due to Defendants’ failures. Two
  24   committed mental health professionals who each worked at the Jail for three years––
       one as Medical Director and Chief Psychiatrist (Christine Evans, M.D.), the other as
  25   a Mental Health Clinician (Jennifer Alonso, LCSW)––have come forward as
       whistleblowers to testify to the Jail’s deficiencies and the harms they saw their
  26   patients suffer. Four nationally recognized experts, on correctional medical care,
       correctional mental health care, custody operations, and disability access, have also
  27   submitted declarations in support of Plaintiffs’ motions. Plaintiffs’ Proposed Order
       requests that the Court enter an order that prohibits Defendants from retaliating
  28   against incarcerated people and whistleblowers for their participation in this lawsuit.
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   1 turn contributes to overdose and other deaths. Swearingen Decl. ¶¶ 11-13, Exs. J-L.
   2 In 2018, Disability Rights California issued a report calling the Jail’s suicide rate a
   3 “crisis demanding meaningful action,” and recommending confidential mental
   4 health visits, clinician input in housing placement decisions and conditions of
   5 confinement, and timely and adequate safety checks. Id. ¶ 7, Ex. F (Suicides in San
   6 Diego County Jail: A System Failing People with Mental Illness (“DRC Report”)) at
   7 1, 3, Appx. A-10, 14-16. The County then retained suicide prevention expert
   8 Lindsay Hayes, who found that the Jail’s suicide rate “was higher than that of
   9 county jails of varying size throughout the United States.” Id. ¶ 8, Ex. G (Report on
  10 Suicide Prevention Practices Within The San Diego County Jail System (“Hayes
  11 Report”)) at 4. He also recommended patient-provider confidentiality, clinician-
  12 informed housing placements and conditions of confinement, and improved safety
  13 checks. Id. ¶ 8, Ex. G at 28, 31-32, 55.
  14                  Over the past several years, the Citizens’ Law Enforcement Review Board
  15 (“CLERB”) has found that County Defendants’ body scanners fail to catch drugs
  16 that lead to overdose deaths, that intercom and video camera deficiencies result in
  17 staff not responding to deadly emergencies, and that deputies fail to conduct
  18 adequate safety checks to ensure people are not in medical or psychiatric distress.
  19 Id. ¶¶ 14-26, Exs. M-Y. In 2019, the San Diego Union-Tribune published an award-
  20 winning “Dying Behind Bars” series about Jail deaths. Id. ¶ 35, Ex. HH. Family
  21 members of people who died at the Jail are also calling for reforms. Id. ¶ 34,
  22 Ex. GG (video of three grieving family members at April 7, 2022 event).
  23                  In response to mounting deaths and community pressure, the California State
  24 Auditor investigated the 185 in-custody deaths from 2006 through 2020, finding that
  25 “deficiencies in the Sheriff’s Department’s policies and practices related to …
  26 mental health care, safety checks, and responses to emergencies likely contributed to
  27 these deaths.” State Audit Report at 53. The State Auditor criticized the SDSD for
  28 inadequate safety checks (at 39-40) and not “updating equipment for monitoring the
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   1 safety of incarcerated individuals” (at 40). The report called for policy changes and
   2 formal audits to ensure effective safety checks (at 54-55), and for CLERB death
   3 reviews to investigate “the decedent’s mental health history and the appropriateness
   4 of the decedent’s housing assignment.” Id. at 50.
   5 I.               Plaintiffs Are at Substantial Risk of Serious Harm Due to Defendants’
                      Failure to Prevent Drug Overdoses at the Jail
   6
   7                  The Jail is experiencing an epidemic of drug overdoses. Swearingen Decl.
   8 ¶ 36, Ex. II. From 2010 to 2020, the Jail averaged approximately one overdose
   9 death every five months. State Audit Report at 14. Since 2019, at least 16
  10 incarcerated people have died from drug overdoses, amounting to one death every
  11 two to three months. See Swearingen Decl. ¶ 27, Ex. C. In 2021, 204 people were
  12 suspected of having overdosed on opiates in the Jail, including two mass overdoses
  13 at George Bailey. Id. ¶¶ 31, 37, 38, Exs. DD, JJ, KK. An April 2022 CLERB report
  14 found that the risk of “overdose/accidental deaths” is higher at the Jail than any
  15 other jail in the state’s 12 most populous counties. Id. ¶ 4, Ex. C at v, 10.
  16                  A.    Defendants Fail to Interdict Drugs Entering the Jail
  17                  The extraordinarily high number of in-custody overdoses is fueled in part by
  18 County Defendants’ failure to interdict drugs entering the Jail. Declaration of James
  19 Austin (“Austin Decl.”) ¶ 15; Swearingen Decl. ¶ 41, Ex. NN at 7 (SDSD admission
  20 that “drugs are making their way into [] facilities” through staff, visitors, mail, or
  21 hidden in body cavities of individuals being coming into custody).
  22                  Body scanners accurately identify anomalies—including small bags of
  23 drugs—within a person’s body. Austin Decl. ¶ 21. Yet County Defendants fail to
  24 equip all facilities with scanners, maintain existing scanners, properly train staff on
  25 their use, or require everyone entering the Jail to be scanned. A 2019 San Diego
  26 Grand Jury report observed out-of-date body scanner software and recommended
  27 the SDSD “find a way to update the scanners.” Swearingen Decl. ¶ 13, Ex. L at 6.
  28 The SDSD has conceded that “items are not detected,” id. ¶ 13, Ex. L at 6, and last
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   1 fall, the Undersheriff admitted that the Jail’s scanners “don’t get them all,” id. ¶ 42,
   2 Ex. OO (video interview). Scanners are used at only four of six Jail facilities. Id.
   3 ¶ 16, Ex. O (Jan. 2022 CLERB findings), at 3.
   4                  Inadequate body scanner policies and practices have led to overdose deaths at
   5 the Jail. See Austin Decl. ¶¶ 24-25, 29-43. For example, Omar Moreno died in
   6 January 2021, with acute methamphetamine intoxication a contributing factor, after
   7 “the operator of the body scanner never identified or inquired with Moreno about
   8 anomalies on his body scan.” Swearingen Decl. ¶ 15, Ex. N (Mar. 2022 CLERB
   9 findings) at 4. Joseph Castiglione died in February 2019 of acute methamphetamine
  10 intoxication after a body scan did not detect a baggie in his small intestine. Id. ¶ 23,
  11 Ex. V (Sept. 2019 CLERB findings) at 9.
  12                  To effectively detect and prevent drugs from entering the Jail, body scanners
  13 must be used at all Jail facilities, scanner software and technology must be
  14 maintained, staff who operate the scanners must be properly trained, and everyone
  15 entering the facilities must be scanned. Austin Decl. ¶ 47. Had these safeguards
  16 been in effect previously, lives could have been saved. See id.
  17                  B.    Defendants Fail to Prevent Overdose Deaths
  18                  Medical treatment and interventions are essential to address the crisis of
  19 deadly overdoses in the Jail. See Declaration of Robert Cohen (“Cohen Decl.”)
  20 ¶ 13. Specifically, without two such interventions—(a) a comprehensive
  21 medication-assisted treatment (“MAT”) program, and (b) making naloxone
  22 sufficiently accessible to incarcerated people who experience an overdose—the Jail
  23 puts people at substantial risk of overdose and death. Id.
  24                  MAT is one of the most effective methods of treating opioid use disorder,
  25 maintaining recovery, and preventing overdose. Id. ¶¶ 15-19. MAT uses
  26 medications that relieve withdrawal symptoms, psychological cravings, and the
  27 euphoric effect of opioids, combined with therapy. Id. ¶ 15. MAT has been
  28 demonstrated to reduce deaths in detention settings. Id. ¶ 17 (citing 58% decrease in
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   1 overdoses during first two years of prison MAT program).
   2                  Despite the efficacy of MAT in treating substance use disorder, the Jail lacks
   3 a comprehensive MAT program. Id. ¶¶ 22-28. SDSD policy suggests MAT may be
   4 available at three of six facilities. Id. ¶ 25 (citing SDSD Policy MSD.A.2). But
   5 SDSD acknowledged in February 2022 that a MAT program “has not been officially
   6 implemented” at any facility. Swearingen Decl. ¶ 43, Ex. PP, at 7. To the extent the
   7 Jail makes MAT available, SDSD Policy MSD.A.2 unnecessarily restricts MAT
   8 only to pregnant women and certain people receiving methadone treatment prior to
   9 their arrest. Cohen Decl. ¶ 23. Everyone else is excluded from receiving this highly
  10 effective treatment. Id. Left undertreated, people are at extreme risk. Id. ¶¶ 27-28;
  11 see also, e.g., Norwood Decl. ¶¶ 3, 6-8 (describing hospitalization for fentanyl
  12 overdose after Jail failed to provide medication or substance use counseling).
  13                  A second critical intervention that can save lives from overdose is naloxone,
  14 also known as “Narcan,” an opioid antagonist that blocks the action of opioids,
  15 resulting in a return to consciousness and resumption of breathing. Cohen Decl.
  16 ¶ 30. Naloxone is safe, effective, and non-addictive. Id. ¶ 31. It carries no risk of
  17 misuse, cannot be used to “get high,” and has not been found to have any effect on
  18 people without opioids in their systems. Id. Naloxone is relatively inexpensive and
  19 simple to use. Id. ¶¶ 32, 38-39. The SDSD already has deputies carry naloxone
  20 nasal spray. Id. ¶ 36; see also Declaration of Pablo Stewart (“Stewart Decl.”)
  21 ¶¶ 108-09; Swearingen Decl. ¶¶ 39, 47, Exs. LL, TT.
  22                  For naloxone to be effective in treating overdose emergencies, however, it
  23 must be administered immediately. Cohen Decl. ¶ 30. For Lazaro Alvarez, who
  24 died of an overdose just hours after being booked into the Jail, and was found by
  25 deputies who were not carrying naloxone, it was too late. See id. ¶ 36. To avoid
  26 such outcomes, and in response to a spike in overdose deaths, the Los Angeles
  27 County Sheriff’s Department (“LACSD”) began a pilot program in 2021, in which it
  28 placed naloxone inside jail housing units for incarcerated people to use if someone
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   1 appeared to overdose. Id. ¶ 34; Stewart Decl. ¶ 114. LACSD has reported positive
   2 outcomes and plans to expand the program to all custody facilities. Cohen Decl.
   3 ¶ 34; Stewart Decl. ¶ 114. The National Commission of Correctional Health Care
   4 (“NCCHC”) recommends naloxone be readily available to incarcerated people.
   5 Cohen Decl. ¶ 33. Yet the Jail fails to make naloxone sufficiently accessible for use
   6 by incarcerated people. See id. ¶ 36. The Jail’s own former Medical Director and
   7 Chief Psychiatrist describes provision of naloxone to patients as a common-sense,
   8 life-saving measure that the Jail can take right now to save lives. Declaration of
   9 Christine Evans (“Evans Decl.”) ¶¶ 44-49.
  10 II.              Plaintiffs Are at Substantial Risk of Serious Harm Due to Defendants’
                      Failure to Conduct Adequate and Timely Safety Checks
  11
                      A.    Defendants Fail to Conduct Adequate Safety Checks
  12
  13                  Safety checks entail “direct observation” of people “to ensure that they are
  14 alive and to check for signs of medical and psychiatric distress.” Stewart Decl. ¶ 85;
  15 see also Austin Decl. ¶ 74. Safety checks are the “most consistent means of
  16 monitoring for [] distress” in the Jail, State Audit Report at 2, and are “essential to
  17 protect human life,” Stewart Decl. ¶ 85. A safety check that does not involve
  18 “meaningful observation of an individual” is “ineffective,” “inadequate,” and
  19 “negat[es] the opportunity for staff to undertake life-saving measures.” State Audit
  20 Report at 25; see also Austin Decl. ¶ 74; Declaration of Jennifer Alonso (“Alonso
  21 Decl.”) ¶¶ 61-64. SDSD’s policies fail to require that safety checks involve
  22 observation sufficient to ensure that the observed person is alive, such as seeing the
  23 rising and falling of the person’s chest when breathing. See Austin Decl. ¶ 75;
  24 Alonso Decl. ¶ 62 (observing safety checks are “not thorough,” with many staff
  25 “barely peer[ing] through the cell windows as they walk by”).
  26                  Defendants have long known about these problems. Stewart Decl. ¶¶ 85-103.
  27 The DRC report found that “[i]nadequate security/welfare checks [ ] were
  28 observed … in a number of cases in which inmates died by suicide.” DRC Report,
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   1 Appx. A-15-16. CLERB found insufficient safety checks in the deaths of Blake
   2 Wilson, Joseph Carroll Horsey, and Michael Macabinlar. Swearingen Decl. ¶¶ 10,
   3 22, 24, Exs. S, U, W. The State Auditor “observed multiple instances in which staff
   4 spent no more than one second glancing into the individuals’ cells, sometimes
   5 without breaking stride, as they walked through the housing module. [S]ome …
   6 individuals showed signs of having been dead for several hours.” State Audit
   7 Report at 2.
   8                  The State Auditor recommends that the SDSD safety check policy be revised
   9 to require “staff to check that an individual is still alive without disrupting the
  10 individual’s sleep,” and that the SDSD develop and implement a safety check audit
  11 policy to ensure incarcerated people’s safety. State Audit Report at 54-55. The
  12 “failure to make such improvements will lead to further unnecessary loss of life.”
  13 Stewart Decl. ¶ 96; see also Austin Decl. ¶¶ 77, 83.
  14                  B.    Defendants Fail to Conduct Sufficiently Frequent Safety Checks in
                            Administration Segregation Units
  15
  16                  Administrative segregation units and other forms of restrictive housing at the
  17 Jail (“segregation”) are harsh and inhumane. See, e.g., Alonso Decl. ¶¶ 19-31;
  18 Evans Decl. ¶¶ 18-25. “The extreme isolation and deprivations of solitary
  19 confinement increase suicidal ideation and self-harming behavior.” DRC Report at
  20 25; see also Hayes Report at 57 (discusses the “strong association between inmate
  21 suicide and segregation housing”); Baker Decl. ¶ 13 (describing how his “mind gets
  22 stuck in suicidal thoughts” because “[t]here is nothing for me to pass the time”). At
  23 least six suicides occurred in segregation units between 2014 and 2016, with
  24 multiple additional deaths since then. DRC Report at 15-16; Alonso Decl. ¶ 22.
  25                  Given the risks posed to people in segregation, “it is the modern standard that
  26 safety checks in those units occur twice every hour at intervals no longer than 30
  27 minutes at unpredictable and intermittent times.” Stewart Decl. ¶ 88 (citing
  28 American Correctional Association standards); id. ¶ 94 (identifying several other
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   1 California jails with safety check monitoring every 30 minutes in segregation); see
   2 also DRC Report, Appx. A-15 (increased monitoring of individuals in units “with
   3 solitary confinement-type conditions” “is a standard custodial practice.”).
   4                  The SDSD, however, requires staff to conduct safety checks only once per
   5 hour in segregation—the same frequency as in general population housing units.
   6 Austin Decl. ¶ 75; Stewart Decl. ¶ 89. This policy “places people in Administrative
   7 Segregation in great danger, especially those with mental illness, at risk of suicide,
   8 or with risk factors for drug/alcohol withdrawal or overdose.” Stewart Decl. ¶ 90;
   9 see also DRC Report, Appx. A-15-16 (finding frequency of safety checks
  10 “inadequate,” and describing in-custody deaths where inadequate safety checks
  11 occurred).
  12                  As recommended by the Hayes Report (at 57) and State Audit Report (at 39-
  13 40), and consistent with many other jails’ policies, increasing the frequency of
  14 safety checks in segregation housing to at least once every 30 minutes, at
  15 unpredictable and intermittent times, is critical to protect incarcerated people at risk
  16 of grave harm and death. Stewart Decl. ¶ 105.
  17 III.             Plaintiffs Are at a Substantial Risk of Serious Harm From Defendants’
                      Deficient Intercom and Video Surveillance Systems
  18
                      A.    Defendants’ Intercom System Practices Are Ineffective
  19
  20                  Jails equip cells and dorms with intercom call boxes that form part of a jail’s
  21 safety system. Austin Decl. ¶ 48. To use the intercom, an incarcerated person
  22 pushes a button that alerts staff in the control room that the button has been pressed
  23 and opens an electronic communication channel between the incarcerated person
  24 and staff. Id. When staff are not physically nearby, an intercom may be the only
  25 way for a person to alert staff of an emergency and to ensure appropriate resources
  26 respond. Id. ¶ 49; see also Swearingen Decl. ¶ 46, Ex. SS (SDSD Policy I.2
  27 providing that the intercom system is primarily for “relaying and/or summoning
  28 emergency assistance”). In the case of fights or medical or mental health
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   1 emergencies, a properly functioning intercom system monitored by staff can mean
   2 the difference between staff intervening immediately as opposed to incarcerated
   3 people suffering at length before receiving assistance. Austin Decl. ¶ 50.
   4                  Incarcerated people have died and suffered great harm due to Defendants’
   5 failures to maintain the intercom system and ensure that staff timely respond to
   6 emergency calls. Austin Decl. ¶¶ 52, 56-57. For example, Robert Moniger died
   7 after he and two of his cellmates used the intercom repeatedly over the course of
   8 several days without staff response. Keavney Decl. ¶¶ 4-7; LaCroix Decl. ¶¶ 4-9.
   9 Jail staff did not respond to emergency intercom calls from Darryl Dunsmore until
  10 20-30 minutes after he called for help while choking on food; he was later
  11 threatened with discipline if he used the button again. Dunsmore Decl. ¶¶ 35-36.
  12 On March 12, 2022, a defective intercom prevented deputies from hearing a “man
  13 down” report during a fight that led to a man being placed on life support.
  14 Sepulveda Decl. ¶ 3.
  15                  To reduce the risk of preventable injury and death, SDSD must repair non-
  16 functional intercom system elements, regularly test the system, modify security
  17 procedures to ensure the intercom system functions effectively, and ensure that staff
  18 are trained to respond to emergency calls within the Jail will. Austin Decl. ¶ 58.
  19                  B.    Defendants’ Video Surveillance Practices Are Ineffective
  20                  Video cameras, monitors, and recording devices are routinely used in
  21 correctional settings to help keep people safe by enabling custody staff to monitor
  22 multiple locations in the Jail simultaneously and quickly respond to dangerous
  23 situations, including emergencies. Austin Decl. ¶ 59. Video surveillance is also an
  24 important tool for re-constructing events after the fact, which better enables the Jail
  25 to investigate incidents, improve policies and practices, provide training when
  26 necessary, and hold accountable those individuals—including staff—who engage in
  27 activity that harms others. Id. ¶ 60.
  28                  The Jail’s video surveillance systems are inadequate, outdated, and overdue
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   1 for repair. Austin Decl. ¶¶ 63-64, 68-69; Swearingen Decl. ¶ 39, Ex. LL (CLERB
   2 executive officer stating in December 2021 that broken or non-operational cameras
   3 inside the Jail have been a recurring problem); see also id. ¶ 11, Ex. J at 9, 12, 14
   4 (2014 San Diego County Grand Jury report recommendation that the SDSD update
   5 the “antiquated” and “old” video surveillance equipment); State Audit Report at 40
   6 (a “key, recurring recommendation that the Sheriff’s Department has not
   7 implemented for nearly a decade relates to updating equipment for monitoring the
   8 safety of incarcerated individuals”). SDSD emails from December 2021 show
   9 officials describing the cameras throughout the Jail as “aging,” “not always
  10 reliable,” and “unable to provide optimal coverage;” officials say they are “not
  11 satisfied in anyway with [the] current camera system or recording capabilities.”
  12 Swearingen Decl. ¶ 40, Ex. MM (SDSD Media Request response) at 3.
  13                  Nonworking cameras and insufficient coverage place vulnerable people at
  14 risk, as unmonitored spaces are frequently used to fight without fear of custody staff
  15 intervention. Austin Decl. ¶ 65. For example, the George Bailey Detention Facility
  16 is known as “the Thunderdome” because so many fights occur there. Glenn Decl.
  17 ¶ 7. These fights often occur in a part of the facility called “the Pocket” that
  18 cameras do not cover. Id. ¶¶ 7-8. Inoperable cameras and poor image quality
  19 impeded CLERB’s investigations of the in-custody deaths of Joseph Morton, Lazaro
  20 Alvarez, and Brandon Moyer. See Swearingen Decl. ¶ 19, Ex. R (Sept. 2021
  21 CLERB findings: “the video surveillance system [at Vista jail] was sporadically
  22 malfunctioning, which caused time lapses in the recorded video footage,” making it
  23 impossible to verify if deputies properly checked on Morton during his last hours of
  24 life); id. ¶ 39, Ex. LL (quoting CLERB executive director as stating cameras were
  25 not working in the cell where Alvarez died of a heart attack ); id. ¶ 25, Ex. X (Oct.
  26 2017 CLERB report finding footage of Moyer’s death was too “grainy and
  27 inconclusive” to determine if deputies conducted adequate safety check).
  28                  To reduce the substantial risks of harm, Defendants must replace all outdated
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   1 and non-functional elements of the video surveillance system at the Jail, timely
   2 identify and repair any video surveillance equipment that becomes non-functional,
   3 and not house incarcerated people in any units without adequate video surveillance
   4 coverage. Austin Decl. ¶ 73.
   5 IV.              Plaintiffs Are at Substantial Risk of Serious Harm Due to Defendants’
                      Failures to Consider Mental Health Staff’s Clinical Input
   6
   7                  When custody staff fail to consider mental health clinicians’ input on
   8 clinically appropriate housing placements, the Jail “will almost invariably see worse
   9 outcomes for patients with mental illness” including increased suicide attempts and
  10 deaths. Stewart Decl. ¶ 17. By policy and practice, custody staff fail to consider
  11 clinicians’ housing recommendations, placing the health and safety of patients with
  12 mental illness at great risk. Id. ¶ 18; Alonso Decl. ¶¶ 16-53; Evans Decl.¶¶ 18-38.
  13                  A.    Defendants’ Practice of Placing People with Mental Illness in
                            Segregated Housing Units Is Dangerous
  14
  15                  It is well established that when patients with mental illness are placed in
  16 solitary confinement-type conditions, they are distinctly vulnerable to deterioration
  17 and decompensation that worsen their condition, intensify symptoms, and put them
  18 at risk of psychosis, self-harm, and suicide. Stewart Decl. ¶¶ 27, 30-33 (citing
  19 American Psychiatric Association, American Public Health Association, and U.S.
  20 DOJ positions); see also DRC Report, Apps. A-14 (such placements can “produce[]
  21 changes in [] risk of self-injury and suicide”); Hayes Report at 57 (emphasizing
  22 association between suicide and segregated housing).
  23                  Custody staff frequently place people with mental illness in segregated
  24 housing units without consulting with, or overruling the recommendation of, mental
  25 health staff. Alonso Decl. ¶¶ 19-29; Evans Decl. ¶¶ 18-25. Approximately 50% of
  26 those held in segregated housing units at the Jail have a mental illness. Alonso
  27 Decl. ¶¶ 24, 30. Many people are housed in isolation even when clinicians find the
  28 placement contraindicated and that the person can be safely housed elsewhere. Id.
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   1 ¶ 20. People in the Jail’s segregation units are confined to their cells close to 24
   2 hours per day. Alonso Decl. ¶ 19; Evans Decl. ¶ 19.
   3                  Allowing custody officers to place patients in segregated housing without
   4 clinicians’ input “creates an extremely dangerous situation that puts a large number
   5 of vulnerable people at substantial risk of serious harm.” Stewart Decl. ¶ 49; see
   6 also Alonso Decl. ¶¶ 19-31; Evans Decl. ¶¶ 18-28. Lonnie Rupard, who had a
   7 mental health condition that made him psychotic and erratic, was moved by custody
   8 staff to a segregation unit where he died in March 2022 with feces and trash
   9 covering the inside of his cell. Alonso Decl. ¶¶ 27-31. In 2021, custody staff
  10 moved Lester Marroquin, who had a history of suicide attempts, to an isolation cell
  11 after a period on suicide precautions during which he was hearing voices, smearing
  12 feces, and sticking his head in the toilet; he died later that day from suicide. Alonso
  13 Decl. ¶ 26; see also Swearingen Decl. ¶ 14, Ex. M (Apr. 2022 CLERB findings
  14 noting that it was “obvious” that Marroquin was a danger to himself).
  15                  The SDSD has rejected mental health staff’s recommendations that it stop
  16 placing people with mental illness in segregated housing units, and custody staff
  17 continue to place patients with mental illness in segregation without clinical input.
  18 Alonso Decl. ¶¶ 19-31; Evans Decl. ¶¶ 18-25. To avoid future harm and heath, the
  19 Jail must ensure that mental health staff’s input is meaningfully considered prior to
  20 and during any placement of an incarcerated person in segregation conditions.
  21 Stewart Decl. ¶ 50.
  22                  B.    Defendants’ Exclusion of Patients with Mental Illness from OPSD
                            if They are Designated as Protective Custody Is Dangerous
  23
  24                  The outpatient stepdown unit (“OPSD”) holds people with chronic mental
  25 illness who, based on clinical information, may benefit from being housed with
  26 others who have been diagnosed with a psychiatric condition. Alonso Decl. ¶ 33;
  27 Evans Decl. ¶ 27. A “core clinical concept of the OPSD is that by clustering people
  28 with mental illness, patients are protected from other incarcerated individuals who
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   1 may exploit, assault, or otherwise victimize people with mental illness.” Stewart
   2 Decl. ¶ 58; Alonso Decl. ¶ 33; Evans Decl. ¶ 27.
   3                  Defendants categorically exclude people with mental illness from OPSD if
   4 custody staff classifies them as “protective custody” (“PC”). Alonso Decl. ¶¶ 32,
   5 34-35; Evans Decl. ¶¶ 28-29. Custody staff may classify a person as PC for reasons
   6 unrelated to mental health, including because they are a former gang member or law
   7 enforcement, or have been charged with crimes like sex offenses that render them a
   8 target for violence. Stewart Decl. ¶¶ 59-60 (discussing SDSD Policy J.3). If
   9 custody staff designate a person with mental illness as PC, that designation prevails
  10 and the person is excluded from OPSD, even if it is clinically recommended by
  11 mental health staff. Alonso Decl. ¶¶ 32-35; Evans Decl. ¶¶ 28-29.
  12                  SDSD’s “clinically inappropriate” exclusion of patients who are classified as
  13 PC from OPSD placement puts those patients at a substantial risk of harm. Stewart
  14 Decl. ¶ 56; see id. ¶¶ 51-64; Alonso Decl. ¶¶ 36-40; Evans Decl. ¶¶ 30-33. In
  15 March, Derek Baker, who was found clinically appropriate for OPSD but excluded
  16 due to his PC status, was killed by his PC cellmate who was in custody on charges
  17 that he had assaulted an elderly store clerk. Alonso Decl. ¶ 38.
  18                  Mental health staff raised concerns about the dangers of this policy and
  19 presented practical recommendations like setting aside a unit exclusively for those
  20 designated protective custody for whom OPSD is clinically appropriate; the SDSD
  21 refused to change its policy, and people like Mr. Baker face grave harm as a result.
  22 Alonso Decl. ¶¶ 36, 39-40; Evans Decl. ¶¶ 28-29; Stewart Decl. ¶ 65.
  23                  C.    Defendants’ Practice of Placing People in EOH and Denying
                            Clothing, Property, and Privileges Contrary to Clinical Judgment
  24
                            Puts Patients at Substantial Risk of Serious Harm
  25
  26                  The Jail’s Enhanced Observation Housing (“EOH”) unit was created in
  27 response to the high number of in-custody suicides. Alonso Decl. ¶¶ 42-43. While
  28 designed for observation and assessment of people at risk of suicide, the EOH is
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   1 defined by deprivation and isolation. Every patient’s clothes (including underwear)
   2 are taken away, replaced with a heavy smock. Every patient is by policy denied
   3 access to recreation, family visits, and personal property that would help them cope,
   4 including assistive devices for those with mobility disabilities; patients are also
   5 frequently denied showers, dayroom, television, and access to phones to call their
   6 family. Id. ¶¶ 44-45; Smith Decl. ¶ 6; Evans Decl. ¶ 35. Jail clinician Jennifer
   7 Alonso describes EOH as “barbaric,” explaining: “Even dogs held in kennels are
   8 treated better than patients in EOH…. I describe it as a Game of Thrones-style
   9 dungeon.” Alonso Decl. ¶ 48.
  10                  There are two key deficiencies in custody staff’s overruling clinical judgment
  11 in EOH. First, despite an SDSD policy that EOH placement be a clinical decision,
  12 “custody staff regularly order such placements – often, they overrule clinical
  13 judgment…. As a result, people are often being placed in EOH or being held in
  14 EOH when there is not a clinical indication for it.” Alonso Decl. ¶ 49; see also id.
  15 ¶¶ 50-53; Evans Decl. ¶¶ 34, 37-38. Second, clinicians have no authority to allow a
  16 patient in EOH to have clothing or personal property, or to call family, even when
  17 clinicians find such things safe and clinically beneficial. Alonso Decl. ¶ 46; Evans
  18 Decl. ¶ 37. As Dr. Stewart notes, the County’s consultant Lindsay Hayes found
  19 these policies deficient given the lack of mental health input; the State Auditor
  20 found the County has failed to address the deficiency. Stewart Decl. ¶¶ 73-75.
  21 Decisions on EOH placement, and the provision of clothing, property, and family
  22 visits or phone calls should be based on clinical judgment rather than blanket
  23 custodial policies or interference. Id. ¶ 76; Evans Decl. ¶¶ 36-38.
  24 V.               Plaintiffs Are at Substantial Risk of Serious Harm Due to Defendants’
                      Failure to Provide Mental Health Care in Confidential Settings for
  25
                      Patients in Mental Health Housing Units
  26
  27                  “An adequate system of care in the Jail setting requires the provision of a
  28 private, confidential setting for patients to communicate openly with their clinician
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   1 or other care provider.” Stewart Decl. ¶ 78. Non-confidential mental health
   2 contacts undermine treatment, as people are reluctant to disclose sensitive
   3 information in settings where others can hear them. Id. ¶¶ 77-78; Alonso Decl. ¶ 77;
   4 DRC Report at 23; Hayes Report at 19 (“[I]t would not be unusual for an otherwise
   5 suicidal inmate to deny suicidal ideation when questioned in a physical environment
   6 that lacks both privacy and confidentiality.”).
   7                  Defendants routinely fail to ensure that mental health care is provided in
   8 confidential spaces. See Evans Decl. ¶ 39 (“nearly all mental clinical contacts
   9 outside of the [PSU] are non-confidential”); Alonso Decl. ¶ 55 (“clinical contacts
  10 with my patients were non-confidential 99% of the time”); see also Roberts Decl.
  11 ¶ 6; Baker Decl. ¶ 15; Edwards Decl. ¶ 20; Norwood Decl. ¶ 5; Sepulveda Decl. ¶ 7;
  12 Bartlett Decl. ¶¶ 3-4; Jones Decl. ¶¶ 3-4; Levy Decl. ¶¶ 3-7; Clark Decl. ¶¶ 11-12.
  13 The State Auditor observed the connection between poor mental health care and the
  14 high death rate. State Audit Report at 13.
  15                  The 2017 NCCHC report requested by the SDSD concluded that the Jail’s
  16 policy “compromises privacy and may prevent a provider or nurse from obtaining an
  17 inmate’s full description of his or her problem to make a diagnosis.” Swearingen
  18 Decl. ¶ 9, Ex. H at 8-9, 43, 109; Stewart Decl. ¶ 82. The Jail’s policies “prevent[]
  19 adequate care from being delivered in settings where patients are most vulnerable,
  20 including in Administrative Segregation, Outpatient Stepdown, Enhanced
  21 Observation Housing, and the Psychiatric Services Unit observation cells.” Stewart
  22 Decl. ¶ 81.
  23                  To provide adequate mental health care and to prevent substantial risk of
  24 serious harm, Defendants must ensure that all mental health clinical contacts are
  25 conducted in a confidential setting. Stewart Decl. ¶ 84.
  26 VI.              Defendants Deny Incarcerated People with Mobility Disabilities Access to
                      Critical Programs, Services, and Activities
  27
  28                  Defendants exclude people with mobility disabilities from programs, services,
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   1 and activities at the Jail. Declaration of Syroun Sanossian (“Sanossian Decl.”)
   2 ¶¶ 7-59. Structural barriers in the Jail’s facilities cause serious harm to incarcerated
   3 people; Defendants’ vague and outdated policies and inadequate training of staff
   4 regarding disability accommodations compound the problem. Id.
   5                  Defendants cluster incarcerated people who use wheelchairs at Central Jail,
   6 where they typically are housed on the fifth, seventh, or eighth floor. Id. ¶¶ 12-13.
   7 The elevator meant to transport incarcerated people to program areas, such as social
   8 and professional visiting areas, is frequently broken. Id. ¶¶ 30, 40; Archuleta Decl.
   9 ¶¶ 12-14. Because the elevator was broken, and potentially in retaliation for his
  10 involvement in this case, Plaintiff Archuleta, a wheelchair user, was forced to try to
  11 walk up the stairs, where he previously had fallen. Archuleta Decl. ¶ 19;
  12 Declaration of Gay Grunfeld (“Grunfeld Decl.”) ¶ 30. He was forced to navigate the
  13 stairs, which was unsafe for him, just to participate in his legal case. Id.; see also
  14 Sanossian Decl. ¶ 40. Moreover, the units that typically house individuals with
  15 mobility disabilities at Central Jail fail to accommodate them: toilets lack grab bars,
  16 placing individuals in danger of falling when transferring from wheelchairs to the
  17 toilet; showers lack chairs or stools, meaning individuals must suffer pain during
  18 showers or compromise personal hygiene by not showering frequently; and
  19 telephone areas, dayroom tables, and desks in cells lack cut-out spaces for
  20 wheelchair access and/or have seats bolted in front of them that block wheelchair
  21 access. Sanossian Decl. ¶¶ 38-52; Archuleta Decl. ¶¶ 11, 15; Nelson ¶¶ 8-18; Clark
  22 ¶¶ 5-8; Buckelew ¶¶ 8-9. Clustering individuals at Central Jail itself is
  23 discriminatory, as people who would be safer or could participate in programs at
  24 other facilities are excluded due to their de facto placement at Central Jail, which
  25 lacks certain programs. Sanossian Decl. ¶¶ 12, 30, 40, 42, 49; Yach Decl. ¶¶ 3-5.
  26                  The small number of individuals with wheelchairs who are housed at other
  27 Jail facilities also face accessibility hurdles. Sanossian Decl. ¶ 52. In the medical
  28 observation bed unit at George Bailey, for example, spaces between bunks and the
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   1 doorway to the bathroom are too narrow to accommodate wheelchairs, the shower
   2 chairs are too fragile to support an individual transferring from a wheelchair, and the
   3 dayroom has limited table space for wheelchair users. Id.; Buckelew Decl. ¶¶ 4-7.
   4 People with mobility disabilities who are in inaccessible spaces are likely to get
   5 injured when attempting to navigate structural challenges and are at risk when they
   6 have to rely on other incarcerated people for help. Sanossian Decl. ¶ 52.
   7                  Defendants also fail to provide needed assistive devices, fail to effectively
   8 replace assistive devices, and take away assistive devices when it is unwarranted.
   9 Id. ¶¶ 53-58. SDSD staff have confiscated multiple assistive devices from Plaintiff
  10 Dunsmore that he used to move around, eat, drink, and write. Dunsmore Decl.
  11 ¶¶ 16-17, 23-25, 30-31, 44. Wheelchairs are not timely replaced when ill-fitted or
  12 broken, causing injury and pain to users. Clark Decl. ¶ 9.
  13                  Defendants’ policies and forms for individuals to appeal the denial of
  14 accommodations are inconsistent with Americans with Disabilities Act (“ADA”),
  15 Section 504 of the Rehabilitation Act, California Government Code § 11135, and
  16 the Unruh Act. See Sanossian Decl. ¶¶ 7-37. Policies and training materials
  17 improperly limit the definition of “disability” and fail to explain how people will be
  18 informed of the outcome of their grievance. Id. ¶¶ 17, 20, 32. The forms in use are
  19 confusing. Id. ¶ 21-22. The inadequate grievance procedure compounds the harm
  20 caused by the Jail’s failure to accommodate disabilities. Id. ¶¶ 21-23, 69.
  21                  All people with disabilities incarcerated in the Jail—including all members of
  22 the Proposed Subclass—are exposed to the Jail’s legally insufficient policies and
  23 practices for providing disability accommodations. Those policies and practices put
  24 the Proposed Subclass at substantial risk of serious harm. See, e.g., Dunsmore Decl.
  25 ¶¶ 5-48; Nelson Decl. ¶¶ 4-18; Clark Decl. ¶¶ 4-9; Sanossian Decl. ¶¶ 7-59;
  26 Buckelew Decl. ¶¶ 4-9; Archuleta Decl. ¶¶ 11-15; Yach Decl. ¶¶ 3-5.
  27                  Structural and policy changes can be expeditiously implemented to make the
  28 Jail accessible to individuals with mobility disabilities. Sanossian Decl. ¶¶ 60-70.
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   1                                               ARGUMENT
   2                  Preliminary injunctive relief is necessary to protect Plaintiffs and all people
   3 incarcerated in the Jail—including the Proposed Class and Subclass—from suffering
   4 death or other serious harms from dangerous and unlawful conditions. Plaintiffs
   5 meet the requirements for a preliminary injunction because (1) they are likely to
   6 succeed on the merits, (2) they are likely to suffer irreparable harm in the absence of
   7 preliminary relief, (3) the balance of equities tip in their favor, and (4) an injunction
   8 is in the public interest. See Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 20
   9 (2008); see also Farris v. Seabrook, 677 F.3d 858, 864 (9th Cir. 2012) (alternate
  10 “sliding scale” test). Preliminary injunctions are appropriate to protect people from
  11 unconstitutional and illegal conditions of confinement that threaten their health and
  12 safety. See, e.g., Toussaint v. Rushen, 553 F. Supp. 1365, 1384-85 (N.D. Cal. 1983),
  13 aff’d in part sub nom. Toussaint v. Yockey, 722 F.2d 1490 (9th Cir. 1984);
  14 Hernandez v. Cnty. of Monterey, 110 F. Supp. 3d 929, 959-961 (N.D. Cal. 2015);
  15 Von Colln v. Cnty. of Ventura, 189 F.R.D. 583, 598-99 (C.D. Cal. 1999).
  16 I.               Plaintiffs Are Likely to Prevail on Their Claims
  17                  To establish a substantial likelihood of success on the merits, a plaintiff need
  18 only show “a fair chance of success.” Nat’l Wildlife Fed. v. Nat’l Marine Fisheries
  19 Serv., 422 F.3d 782, 794 (9th Cir. 2005) (citation omitted).
  20                  A.    Plaintiffs Are Likely to Prevail on Their Constitutional Claims
  21                  Defendants violate the Eighth Amendment if they incarcerate people under
  22 conditions posing a substantial risk of serious harm to those persons’ health or
  23 safety (the objective prong), and acted with deliberate indifference, that is, with
  24 conscious disregard for that risk (the subjective prong). Farmer v. Brennan, 511
  25 U.S. 825, 834, 839-40 (1994). Unsafe conditions that “pose an unreasonable risk of
  26 serious damage to [an incarcerated person’s] future health” or “personal safety” may
  27 satisfy this objective prong and show violation of the Eighth Amendment, even if
  28 the damage has not yet occurred and may not affect every person exposed to the
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   1 conditions. Helling v. McKinney, 509 U.S. 25, 34-35 (1993). The Jail’s large
   2 pretrial population is entitled to greater protection from dangerous conditions than
   3 sentenced individuals. Bell v. Wolfish, 441 U.S. 520, 535-37 (1979); see also
   4 Gordon v. Cnty. of Orange, 888 F.3d 1118, 1124-25 (9th Cir. 2018).
   5                        1.     Defendants Are Deliberately Indifferent by Failing to
                                   Prevent Drug Overdoses
   6
                                   (a)    Failure to Interdict Drugs from Entering the Jail
   7
   8                  “[C]entral to all other corrections goals is the institutional consideration of
   9 internal security within the corrections facilities themselves.” Pell v. Procunier, 417
  10 U.S. 817, 823 (1974). Failing to enact policies and practices to protect incarcerated
  11 people from overdose deaths can constitute deliberate indifference. See Turner v.
  12 Cook Cnty. Sheriff’s Office by and through Dart, No. 19-CV-5441, 2020 WL
  13 1166186 at *4 (N.D. Ill. Mar. 11, 2020).
  14                  Defendants are deliberately indifferent to the substantial risk of serious harm
  15 posed to incarcerated people, many of whom are suffering from opioid use disorder
  16 and/or withdrawal, by Defendants’ failure to interdict deadly and dangerous
  17 contraband narcotics. Prior to 2019, the Jail averaged approximately one overdose
  18 death every five months, and since then, the number has risen to one every two to
  19 three months. See supra, at 4-5. The Jail is on pace for more than 170 opioid
  20 overdoses this year. See id. Investigations into the in-custody deaths of Messrs.
  21 Castiglione, Bush, Hossfield, and Moreno, for example, show that many of these
  22 overdoses are caused by drugs that were not—but should have been—detected by
  23 the Jail’s body scanning process. See id. Defendants have admitted that drugs enter
  24 the Jail in part because their body scanners, which are present in only four of six
  25 facilities and have been found to use out-of-date software, do not detect all items.
  26 Id. In some cases, staff operating the body scanners fail to identify or inquire about
  27 anomalies on the scan. Id. Despite being well aware of the deadly consequences of
  28 illegal drugs entering the Jail, Defendants have failed to take simple but important
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   1 steps to improve their processes for scanning to detect and prevent introduction of
   2 contraband. See id. Defendants’ acts and omissions constitute deliberate
   3 indifference to the risk of overdose in the Jail.
   4                               (b)   Failure to Medically Prevent and Address Overdoses
   5                  The Constitution requires prison and jail officials to provide adequate medical
   6 care. See Estelle v. Gamble, 429 U.S. 97, 103-05 (1976); Gordon, 888 F.3d at 1122-
   7 25. For example, opiate withdrawal “constitutes a serious medical need requiring
   8 appropriate medical care under the Eighth Amendment.” Pajas v. Cnty. of
   9 Monterey, 2016 WL 3648686, at *10 (N.D. Cal. July 8, 2016) (collecting cases); see
  10 also Hernandez, 110 F. Supp. 3d at 948. In light of the overdose epidemic at the
  11 Jail, failing to provide treatments such as MAT and immediate access to naloxone
  12 unconstitutionally places incarcerated individuals at risk of death. See, e.g., Pesce v.
  13 Coppinger, 355 F. Supp. 3d 35, 47-48 (D. Mass. 2018) (policy prohibiting
  14 methadone treatment likely to succeed on Eighth Amendment claim); see also Smith
  15 v. Aroostook Cnty., 376 F. Supp. 3d 146, 159-61 & n.20 (D. Me. 2019), aff’d 922
  16 F.3d 41 (1st Cir. 2019); Witcherman v. City of Philadelphia, 2019 WL 3216609, at
  17 *10 (E.D. Pa. July 17, 2019).
  18                  The Jail lacks a comprehensive or adequate MAT program. See supra, at 5-7.
  19 Defendants recently admitted that they do not have a “robust” MAT program and
  20 offer MAT only on a “case by case basis,” despite its proven efficacy in relieving
  21 withdrawal symptoms and preventing overdoses, but they have not taken any
  22 meaningful steps to rectify this deficiency. Id.
  23                  The Jail also fails to provide adequate access to naloxone, a safe, highly
  24 effective, easy-to-use medication that can block the action of opioids, for timely use
  25 by incarcerated people in the Jail. Defendants are aware that naloxone must be
  26 administered immediately when a person is overdosing, and that at times, the Jail’s
  27 staff have been too late. See id. Experts recommend—and other correctional
  28 systems allow—naloxone to be made available directly to incarcerated people to
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   1 administer in the case of a suspected overdose, an intervention that could save lives
   2 in the Jail immediately. Id. By failing to implement this measure, Defendants are
   3 deliberately indifferent to risk of overdose death in their facilities.
   4                        2.     Defendants Are Deliberately Indifferent by Failing to
                                   Conduct Adequate and Timely Safety Checks
   5
                                   (a)    Failure to Conduct Adequate Safety Checks
   6
   7                  Safety checks must be sufficiently thorough to ensure the safety, security, and
   8 well-being of incarcerated people. See Gordon v. Cnty. of Orange, 6 F.4th 961,
   9 972-73 (9th Cir. 2021). Defendants are deliberately indifferent to the substantial
  10 risk of harm posed by their strikingly deficient safety checks. If the shocking deaths
  11 of incarcerated people found unresponsive hours after they were last known to be
  12 alive was not enough to put Defendants on notice of the inadequacies in their
  13 policies and practices regarding safety checks, repeated criticism by CLERB, the
  14 DRC Report, and the State Auditor certainly did. See supra, at 7-8. The SDSD has
  15 admitted that staff do not follow the Jail’s policies regarding safety checks and that
  16 there is no documented policy for confirming the adequacy of such checks. Id.
  17 Absent relief, Defendants’ conscious dereliction of their duty to ensure staff perform
  18 adequate safety checks puts the lives of incarcerated people in danger. See id.
  19                               (b)    Failure to Conduct Sufficiently Frequent Safety
                                          Checks in Administrative Segregation Units
  20
  21                  Officials at facilities where there are known suicide risks, including risks
  22 posed to individuals in segregated housing, “are required to take all reasonable steps
  23 to prevent the harm of suicide.” Coleman v. Brown, 938 F. Supp. 2d 955, 975 (E.D.
  24 Cal. 2013). For at-risk people housed in isolation, safety checks must occur more
  25 frequently than the standard once per hour to satisfy constitutional standards. See
  26 Germaine-McIver v. Cnty. of Orange, No. SACV 16-01201-CJC (GJSx), 2018 WL
  27 6258896, at *9 (C.D. Cal. Oct. 31, 2018); Lemire v. California Dep’t of Corr. &
  28 Rehab., 726 F.3d 1062, 1079 (9th Cir. 2013). For years, Defendants knowingly
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   1 have failed to take life-saving measures to increase the frequency of safety checks in
   2 segregated housing within the Jail. The DRC Report and Hayes Report sharply
   3 criticized safety check practices within the Jail, with Hayes “strongly
   4 recommend[ing]” implementation of 30-minute checks in segregated housing.
   5 Supra, at 8-9. As the State Auditor explained, Defendants have ignored calls to
   6 address this “crucial” issue of not performing safety checks frequently enough in
   7 segregation units. See id. Defendants are deliberately indifferent in a way that puts
   8 the lives of people housed in isolated conditions at further risk of preventable death.
   9                        3.     Defendants Are Deliberately Indifferent by Maintaining
                                   Deficient Intercom and Video Surveillance Systems
  10
  11                  Correctional staff show deliberate indifference to the serious needs of
  12 incarcerated people where such people are unable to make serious health or safety
  13 issues known to staff. See Hoptowit v. Ray, 682 F.2d 1237, 1253 (9th Cir. 1982),
  14 overruled on other grounds by Sandin v. Conner, 515 U.S. 472 (1995); May v.
  15 Higgins, No. 4:20-00826, 2020 WL 4919562, at *1-2 (E.D. Ark. Aug. 7, 2020),
  16 report and recommendation adopted, 2020 WL 4905833 (E.D. Ark. Aug. 20, 2020)
  17 (allowing claim to proceed where plaintiff alleged he could not get help when
  18 feeling suicidal or otherwise needing assistance because emergency call button was
  19 broken and deputies came to his unit only three times per day).
  20                  Incarcerated individuals have attempted to use the Jail’s intercom system
  21 during violent assaults and medical emergencies to no avail, resulting in significant
  22 harm and even death. See supra, at 9-12. The State Auditor called updating video
  23 surveillance equipment a “recurring” recommendation that the SDSD has failed to
  24 implement “for nearly a decade.” Id. A grand jury and CLERB have demanded
  25 better video monitoring. See id. The SDSD has admitted the equipment is faulty.
  26 Id. Defendants know about these deficiencies, but have disregarded them. See id.
  27 Their acts and omissions constitute deliberate indifference to the risks that
  28 incarcerated people face of injury, death, medical neglect, or other harms.
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   1                        4.     Defendants Are Deliberately Indifferent by Failing to
                                   Consider Mental Health Clinicians’ Housing Input
   2
                                   (a)   Dangerous Practice of Placing People with Mental
   3
                                         Illness in Segregated Housing Units
   4
   5                  The “placement of seriously mentally ill prisoners in the harsh, restrictive and
   6 non-therapeutic conditions of [] administrative segregation units for non-disciplinary
   7 reasons for more than a minimal period … violates the Eighth Amendment.”
   8 Coleman v. Brown, 28 F. Supp. 3d 1068, 1099 (E.D. Cal. 2014); Madrid v. Gomez,
   9 889 F. Supp. 1146, 1265-66 (N.D. Cal. 1995).
  10                  Defendants are aware that individuals with mental illness are placed in
  11 segregated housing even where mental health staff find it clinically contraindicated
  12 and dangerous. See supra, at 12-13. The many deaths that have occurred in
  13 segregated housing units in recent years, including Mr. Marroquin’s tragic suicide
  14 after he was moved from suicide precautions to isolation, without treating clinician
  15 input and while he clearly was a danger to himself, put Defendants on notice of the
  16 grave risk of harm posed by placing individuals with mental illness in these units.
  17 See id. Defendants, however, disregard these known risks and allow custody staff to
  18 overrule and ignore mental health staff. See id. These acts and omissions constitute
  19 deliberate indifference. See Hernandez, 110 F. Supp. 3d at 946.
  20                               (b)   Dangerous Practice of Excluding Individuals with
                                         Mental Illness from OPSD if They are Designated as
  21
                                         Protective Custody
  22
  23                  Incarcerated people have a constitutional right to be protected from serious
  24 harm, including abuse by others. See Hoptowit, 682 F.2d at 1253; Cortez v. Skol,
  25 776 F.3d 1046, 1049 (9th Cir. 2015); Wilk v. Neven, 956 F.3d 1143, 1150 (9th Cir.
  26 2020).
  27                  Defendants know that OPSD is intended to house people with chronic mental
  28 illness in a safe environment separate from other incarcerated people who may
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   1 exploit, assault, or otherwise victimize them. See supra, at 13-14. Defendants also
   2 know—both because mental health staff raised the issue and in light of the
   3 circumstances leading to the death of Mr. Baker—that placing individuals with
   4 mental illness in protective custody exposes them to the exact dangers OPSD is
   5 designed to prevent. See id. Nonetheless, over the objections of mental health staff,
   6 Defendants categorically exclude from OPSD individuals who also are designated
   7 protective custody, to the great detriment of incarcerated people. See id. These
   8 policies and practices constitute deliberate indifference.
   9                               (c)   Dangerous Practice of Placing People in EOH and
                                         Denying Clothing, Property, and Family Visits/Calls
  10
                                         Contrary to Clinical Judgment
  11
  12                  Incarcerated people have a constitutional right to clinically appropriate
  13 treatment and conditions that do not put them at substantial risk of harm. Madrid,
  14 889 F. Supp. at 1257–58; Parsons v. Ryan, 754 F.3d 657, 677 (9th Cir. 2014).
  15 Defendants know that custody-determined (a) placements in EOH and
  16 (b) categorical denial of clothing, property, and family visits or calls are inconsistent
  17 with NCCHC standards, modern jail mental health care standards, and even their
  18 own suicide prevention consultant’s recommendations. Supra, at 14-15. Jail mental
  19 health staff describe such conditions as “barbaric,” yet Defendants persist in
  20 allowing dangerous custodial practices to overrule clinical judgment and care. Id.
  21                        5.     Defendants Are Deliberately Indifferent by Not Providing
                                   Confidentiality for Mental Health Contacts
  22
  23                  Confidential mental health contacts are a recognized component of a
  24 constitutionally adequate mental health care system. See Gray v. Cnty. of Riverside,
  25 No. EDCV 13-00444, 2014 WL 5304915, at *10 (C.D. Cal. Sept. 2, 2014);
  26 Braggs v. Dunn, 257 F. Supp. 3d 1171, 1184, 1210-1212 (M.D. Ala. 2017).
  27 Defendants have been aware since at least 2017 and 2018, when NCCHC, DRC and
  28 Hayes issued their reports, that the lack of confidentiality during mental health
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   1 contacts in the Jail poses a danger to incarcerated individuals, and in particular,
   2 those vulnerable to suicide or self-harm. See supra, at 15-16. The SDSD
   3 represented that it had implemented in part Hayes’ recommendation to avoid cell-
   4 side mental health encounters, but Defendants are aware that in practice, non-
   5 confidential visits are the norm. See id. Incarcerated people and mental health staff
   6 have raised this issue to no avail. Id. The practice has put people housed in mental
   7 health housing units at substantial risk of serious harm. See id. Defendants have
   8 been deliberately indifferent to incarcerated peoples’ need and right to
   9 confidentiality during mental health contacts.
  10                  B.    Plaintiffs Are Likely to Prevail on Their ADA Claims
  11                  “To prevail under Title II [of the ADA], [a] plaintiff must show that: (1) he is
  12 a qualified individual with a disability; (2) he was either excluded from participation
  13 in or denied the benefits of a public entity’s services, programs, or activities, or was
  14 otherwise discriminated against by the public entity; and (3) this exclusion, denial,
  15 or discrimination was by reason of his disability.” Cohen v. City of Culver City, 754
  16 F.3d 690, 695 (9th Cir. 2014). Title II’s implementing regulations provide that “no
  17 qualified individual with a disability, shall, because a public entity’s facilities are
  18 inaccessible to or unusable by individuals with disabilities, be excluded from
  19 participation in, or be denied the benefits of the services, programs, or activities of a
  20 public entity, or be subjected to discrimination by any public entity.” 28 C.F.R.
  21 § 35.149. Title II regulations state that detention facilities may not exclude
  22 incarcerated people from participating in a program, service, or activity offered by
  23 the facility “[b]ecause a [detention] facility is inaccessible to or unusable by
  24 individuals with disabilities.” Id. § 35.152(b)(1). Public entities must “make
  25 reasonable modifications in policies, practices, or procedures when modifications
  26 are necessary to avoid discrimination on the basis of disability, unless the public
  27 entity can demonstrate that making the modifications would fundamentally alter the
  28 nature of the service, program, or activity.” Id. § 35.130(b)(7).
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   1                  Plaintiffs Dunsmore, Archuleta, and Nelson and other declarants are qualified
   2 individuals with mobility disabilities. See 42 U.S.C. § 12131(2); see also 28 C.F.R.
   3 § 35.104. Plaintiffs Dunsmore, Archuleta, and Nelson and other declarants use
   4 wheelchairs and have disabilities that make it impossible, difficult, painful, or
   5 dangerous to ambulate, maneuver around objects, or otherwise use certain motor
   6 skills. See Sanossian Decl. The programs, services, and activities at issue here—
   7 housing, toilets, showers, dayroom tables, telephones, visitation, and programs—are
   8 covered by the ADA. See Pa. Dep’t of Corr. v. Yeskey, 524 U.S. 206, 210 (1998);
   9 Armstrong v. Schwarzenegger, 622 F.3d 1058, 1068 (9th Cir. 2010).
  10                  By offering these programs, services, and activities in conditions and
  11 locations inaccessible to people with mobility disabilities, Defendants unlawfully
  12 exclude and discriminate against Plaintiffs and members of the putative subclass.
  13 Incarcerated people in wheelchairs are clustered at Central, where elevators
  14 frequently do not work, forcing them to take the stairs or else miss visitation or
  15 programs; toilets lack grab bars; showers lack chairs or stools; and telephone areas,
  16 dayroom tables, and desks in cells lack cut-out spaces for wheelchair access and/or
  17 have seats bolted in front of them that block wheelchair access. See supra, at 16-18.
  18 Other Jail facilities with more desirable programs than Central are also not
  19 accessible for wheelchair users. See id. Defendants often fail to provide needed
  20 assistive devices, fail to effectively replace assistive devices, and take away assistive
  21 devices when it is unwarranted. Id. If Defendants offered accessible housing and
  22 programs, provided accommodations and assistive devices, and properly trained
  23 staff, incarcerated individuals with mobility disabilities would be able to perform
  24 basic, necessary activities of daily living without risk of serious injury, pain and
  25 suffering, and would be able to access all programs the Jail offers. See id.
  26 Defendants’ policies and procedures regarding incarcerated individuals with
  27 mobility disabilities, including their grievance procedures, are vague and deficient
  28 and frequently do not appear to be followed. See id. As such, Plaintiffs are likely to
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   1 succeed on their claim that Defendants violate the ADA.
   2 II.              Plaintiffs Suffer Irreparable Harm Absent Preliminary Injunctive Relief
   3                  Plaintiffs are suffering irreparable harm, including the risk of death, under
   4 Defendants’ existing policies and practices. The nature of the risk to Plaintiffs
   5 weighs heavily in favor of granting the motion. See Harris v. Bd. of Supervisors,
   6 Los Angeles Cnty., 366 F.3d 754, 766 (9th Cir. 2004); Hernandez, 110 F. Supp. 3d
   7 at 956 (similar). A constitutional violation itself also “unquestionably constitutes
   8 irreparable injury.” Melendres v. Arpaio, 695 F.3d 990, 1002 (9th Cir. 2012)
   9 (quoting Elrod v. Burns, 427 U.S. 347, 373 (1976)).
  10                  The risks posed to incarcerated people at the Jail are immediate and real. The
  11 State Audit Report sounded an urgent alarm on deadly conditions that have existed
  12 unabated within the Jail for years. The statistics are staggering, and the individual
  13 stories harrowing. Since 2019, at least 16 incarcerated people have died from
  14 overdosing on drugs that apparently entered the Jail undetected. Supra, at 4-7.
  15 Messrs. Wilson, Macabinlar, and Horsey were found dead in their cells long after
  16 staff failed to check on them properly. See id. at 7-8. Mr. Moniger died after he and
  17 two of his cellmates used the intercom repeatedly over the course of several days
  18 without staff response. See id. at 10. Mr. Marroquin committed suicide after he was
  19 moved from an inpatient mental health unit to a segregation housing unit without so
  20 much as a conversation with mental health staff. See id. at 13. Mr. Baker was the
  21 victim of a deadly assault by his cellmate after staff placed him in protective custody
  22 despite his mental illness. See id. at 14. Since the State Audit Report was issued on
  23 February 3, 2022, eight people incarcerated at the Jail have died and countless
  24 others are suffering from deteriorating mental health. See id. at 1. These harms are
  25 irreversible. They also illustrate ongoing problems in the Jail’s policies and
  26 practices. Rather than remedying these problems, Defendants have disregarded the
  27 risks, repeatedly refusing to implement the recommendations of experts and the
  28 State Auditor. See id. at 2-18.
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   1                  Plaintiffs and the putative class also suffer irreparable harm from Defendants’
   2 inadequate attention to the ADA. Mr. Archuleta, for example, fell and struck his
   3 head when forced to take the stairs to professional and social visits while the
   4 elevator was broken at Central. Mr. Buckelew must put himself at risk and rely on
   5 other incarcerated people to move him from his wheelchair to the toilet because his
   6 wheelchair does not fit through the doorway to the bathroom. Ms. Yach was forced
   7 to house with a male in the same Jail where she was previously assaulted due to her
   8 need for a wheelchair. These and other ADA violations constitute irreparable harm.
   9 See Hernandez, 110 F. Supp. 3d at 954-57; D.R. v. Antelope Valley Union High Sch.
  10 Dist., 746 F. Supp. 2d 1132, 1145-46 (C.D. Cal. 2010); Lonberg v. City of Riverside,
  11 EDCV970237SGLAJWX, 2007 WL 2005177, at *8 (C.D. Cal. May 16, 2007).
  12 III.             The Balance of Hardships Weighs Heavily in Plaintiffs’ Favor
  13                  In considering a request for a preliminary injunction, courts “must balance the
  14 competing claims of injury and must consider the effect on each party of the
  15 granting or withholding of the requested relief.” Winter, 555 U.S. at 24 (quoting
  16 Amoco Prod. Co. v. Gambell, 480 U.S. 531, 542 (1987)). The interest in protecting
  17 individuals from physical harm outweighs monetary costs to government entities.
  18 See Harris, 366 F.3d at 766. The balance of hardships here strongly favors granting
  19 the motion. Absent relief, Plaintiffs and the putative class likely face death or
  20 injury, outweighing any theoretical injury posed by the requested injunction to
  21 Defendants. Those with untreated substance use disorder will find access to deadly
  22 contraband drugs that have entered the Jail undetected. Those with mental health
  23 needs, including people housed in segregation, will remain at high risk of suicide or
  24 self-harm. Emergencies in cells will go undetected until it is too late to save a life.
  25 And those with mobility disabilities will continue to be denied access to programs,
  26 services, and activities.
  27                  As compared to these significant hardships faced by incarcerated people, a
  28 preliminary injunction merely would require Defendants to devise and implement
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   1 remedial plans repeatedly recommended as necessary to save lives and reduce harm
   2 by the State Auditor, CLERB, and other experts. Given the high taxpayer cost of
   3 emergency care, hospitalization, and wrongful death lawsuits, requiring Defendants
   4 to take precautionary and preventative steps may even result in future cost savings,
   5 apart from the saving of lives.
   6 IV.              A Preliminary Injunction is in the Public Interest
   7                  “[I]t is always in the public interest to prevent the violation of a party’s
   8 constitutional rights.” Melendres, 695 F.3d at 1002. The dangerous conditions
   9 described above violate the constitutional rights of Plaintiffs and the class.
  10 Protecting them from the resulting risk of death and serious harm while in Jail
  11 custody and is in the public interest. A preliminary injunction enjoining
  12 Defendants’ ADA violations would “serve[] the public’s interest in enforcement of
  13 the ADA and in elimination of discrimination on the basis of disability.” Enyart v.
  14 Nat’l Conf. of Bar Examiners, Inc., 630 F.3d 1153, 1167 (9th Cir. 2011).
  15 V.               The Court Should Waive the Security Bond Under Rule 65(c)
  16                  “Rule 65(c) invests the district court with discretion as to the amount of
  17 security required, if any.” Jorgensen v. Cassiday, 320 F.3d 906, 919 (9th Cir. 2003)
  18 (internal quotation marks and citation omitted). District courts routinely exercise
  19 this discretion to require no security in cases brought by indigent and/or incarcerated
  20 people. See, e.g., Toussaint, 553 F. Supp. at 1383 (state prisoners); Orantes–
  21 Hernandez v. Smith, 541 F. Supp. 351, 385 n. 42 (C.D. Cal. 1982) (detained
  22 immigrants). This Court should do the same here.
  23 VI.              The Requested Relief is Consistent With the PLRA
  24                  The Prison Litigation Reform Act (“PLRA”) authorizes preliminary
  25 injunctive relief to address conditions of confinement in correctional facilities. See
  26 18 U.S.C. § 3626(a)(2). Such relief “must be narrowly drawn, extend no further
  27 than necessary to correct the harm the court finds requires preliminary relief, and be
  28 the least intrusive means to correct that harm.” Id.; see also Armstrong, 275 F.3d at
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   1 872 (citing Gomez v. Vernon, 255 F.3d 1118, 1129 (9th Cir. 2001)).
   2                  The order Plaintiffs seek meets the PLRA. The proposed order requires
   3 Defendants to devise their own remedial plans, addressing narrow issues that
   4 Defendants concede or the State has found to be dangerous and problematic using
   5 tried and true methods. “Allowing defendants to develop policies and procedures to
   6 meet [their constitutional and statutory] requirements is precisely the type of process
   7 that the Supreme Court has indicated is appropriate for devising a suitable remedial
   8 plan in a prison litigation case.” Armstrong, 622 F.3d at 1071; see also Pierce v.
   9 Cnty. of Orange, 761 F. Supp. 2d 915, 954 (C.D. Cal. 2011) (“[T]he least intrusive
  10 means to compel the County to remedy the physical barriers and disparate provision
  11 of programs, services, and activities to disabled detainees is to allow the County to
  12 draft a proposed plan that will address and correct each and every physical barrier
  13 identified in this Order ….”). Further, the requested relief would improve public
  14 safety and the operation of the criminal justice system by reducing death rates,
  15 recidivism, hospitalizations, and misery among incarcerated people with medical,
  16 mental health, and disability needs.
  17 VII. This Court Should Certify a Provisional Class and Subclass for Purposes
          of the Preliminary Injunction
  18
  19                  When issuing a preliminary injunction on a class-wide basis, courts may
  20 provisionally certify a class. Meyer v. Portfolio Recovery Assoc., LLC, 707 F.3d
  21 1036, 1043 (9th Cir. 2012). Plaintiffs seek provisional certification of an
  22 “Incarcerated People Class,” defined as “all adults who are now, or will be in the
  23 future, incarcerated in any of the San Diego County Jail facilities” (hereafter
  24 “Proposed Class”), and an “Incarcerated People with Disabilities Subclass,” defined
  25 as “all qualified individuals with a disability, as that term is defined in 42 U.S.C.
  26 § 12102, 29 U.S.C. § 705(9)(B), and California Government Code § 12926(j) and
  27 (m), and who are now, or will be in the future, incarcerated in all San Diego County
  28 Jail facilities” (“Proposed Subclass”). Plaintiffs meet the Rule 23 requirements.
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   1                  A.    The Proposed Class and Subclass Are Sufficiently Numerous
   2                  A class may be certified if “the class is so numerous that joinder of all
   3 members is impracticable.” Fed. R. Civ. P. 23(a)(1); A.B. v. Haw. State Dep’t of
   4 Educ., — F.4th —, 2022 WL 996575, at *6 (9th Cir. 2022)). “[N]umerosity is
   5 presumed where the plaintiff class contains forty or more members.” In re Cooper
   6 Cos. Sec. Litig., 254 F.R.D. 627, 634 (C.D. Cal. 2009).
   7                  The Proposed Class and Subclass are so numerous that joinder would be
   8 impracticable. The Proposed Class contains, at a minimum, approximately 4,400
   9 people currently incarcerated in the jail facilities. Swearingen Decl. ¶ 33, Ex. FF.
  10 Historically, the average daily population of the Jail has been 5,200, and the jails
  11 booked an average of 85,000 individuals annually. State Audit Report at 7. The
  12 Subclass contains thousands of individuals. Nearly 35% of incarcerated people at
  13 the Jail in December 2021 were taking psychotropic medications for mental health
  14 disabilities. Swearingen Decl. ¶ 33, Ex. FF. This figure likely undercounts the
  15 number of incarcerated people with mental health disabilities, and does not include
  16 people with other disabilities, such as mobility, hearing, vision, and
  17 intellectual/developmental disabilities. There are likely persons with mobility
  18 disabilities at the Jail at any given time. Sanossian Decl. ¶¶ 7, 47.
  19                  B.    The Proposed Class and Subclass Have Common Questions
  20                  Provisional class certification requires “questions of law or fact common to
  21 the class.” Fed. R. Civ. P. 23(a)(2); see also Abdullah v. U.S. Sec. Assocs., Inc., 731
  22 F.3d 952, 957 (9th Cir. 2013). Commonality exists where, as in this case, “the
  23 lawsuit challenges a system-wide practice or policy that affects all of the putative
  24 class members.” Armstrong v. Davis, 275 F.3d 849, 868 (9th Cir. 2001). Such suits
  25 “by their very nature often present common questions satisfying Rule 23(a)(2) .” 7A
  26 Mary J. Kane, Fed. Prac. & Proc. Civ. § 1763 (3d ed. 2018). Where system-wide
  27 practices exist, “individual factual differences among the individual litigants or
  28 groups of litigants will not preclude a finding of commonality.” Armstrong, 275
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   1 F.3d at 868; see also Hernandez v. Cnty. of Monterey, 305 F.R.D. 132, 155-59 (N.D.
   2 Cal. 2015); Lyon v. ICE, 308 F.R.D. 203, 214 (N.D. Cal. 2014).
   3                  Plaintiffs and all members of the Proposed Class and Subclass share a
   4 common core of facts: they are or will be detained in the Jail and thus subject to
   5 Defendants’ system-wide failures to provide adequate safety and security, medical
   6 and mental health care, and disability accommodations.2 All Proposed Class and
   7 Subclass members are exposed to the policies and practices at issue by virtue of
   8 their incarceration, thus meeting the requirement of Rule 23(a)(2). See, Hernandez,
   9 305 F.R.D. at 157 (“[E]ach inmate suffers the same constitutional or statutory injury
  10 when exposed to a policy or practice that creates a substantial risk of harm.… The
  11 identified 37 policies and practices to which all members are exposed hold together
  12 the putative class and subclass.”); see also Hanlon v. Chrysler Corp., 150 F.3d
  13 1011, 1019 (9th Cir. 1998), overruled in part on other grounds by Wal-Mart Stores,
  14 Inc. v. Dukes, 564 U.S. 338 (2011) (“The existence of shared legal issues with
  15 divergent factual predicates is sufficient.”).
  16                  A central question common to all Class members is whether Defendants’
  17 systemic policies and practices identified above constitute deliberate indifference to
  18 a substantial risk of serious harm. A central question common to all Subclass
  19 members is whether Defendants’ systemic failure to provide accessible housing and
  20 programming violates the ADA and related statutes.
  21                  C.    Plaintiffs’ Claims Are Typical of the Proposed Class and Subclass
  22                  Rule 23(a)(3) requires that “the claims … of the representative parties [be]
  23 typical of the claims … of the class.” Typicality is satisfied “when each class
  24 member’s claim arises from the same course of events, and each class member
  25
       2
  26  See, e.g., Roberts Decl. ¶¶ 2-6; Sepulveda Decl. ¶¶ 2-7; Bartlett Decl. ¶¶ 2-6; Jones
     Decl. ¶¶ 2-5; Yach Decl. ¶¶ 2-6; Dunsmore Decl. ¶¶ 2-48; Lopez ¶¶ 2-18; Keavney
  27 ¶¶ 2-11; LaCroix Decl. ¶¶ 2-10; Smith Decl. ¶¶ 2-13; Archuleta Decl. ¶¶ 2-22;
     Glenn Decl. ¶¶ 2-9; Edwards Decl. ¶¶ 2-21; Nelson Decl. ¶¶ 2-27; J.A. Lopez Decl.
  28 ¶¶ 2-10; Norwood Decl. ¶¶ 2-8.
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   1 makes similar legal arguments to prove the defendant’s liability.” Hanon v.
   2 Dataproducts Corp., 976 F.2d 497, 508 (9th Cir. 1992) (quotation marks omitted);
   3 see also Parsons, 754 F.3d at 685.
   4                  The typicality requirement is satisfied because the Proposed Class and
   5 Subclass members are all subject to the same unconstitutional and illegal course of
   6 conduct by Defendants—the failure to provide adequate safety, medical and mental
   7 health treatment, and disability accommodations. See Parsons, 754 F.3d at 686
   8 (“[G]iven that every inmate in custody is highly likely to require medical, mental
   9 health, and dental care, each of the named plaintiffs is similarly positioned to all
  10 other … inmates with respect to a substantial risk of serious harm resulting from
  11 exposure to the defendants’ policies and practices governing health care.”).
  12                  D.    Plaintiffs and Counsel Are Adequate Representatives
  13                  Rule 23(a)(4) requires that “the representative parties will fairly and
  14 adequately protect the interests of the class.” This factor requires that (1) proposed
  15 representative plaintiffs not have conflicts of interest with the proposed class and
  16 (2) plaintiffs be represented by qualified or competent counsel. Hanlon, 150 F.3d at
  17 1020; see also Wright & Miller, Federal Practice & Proc. § 1768 (4th ed. 2022).
  18                  Plaintiffs are not aware of any conflicts among the putative class
  19 representatives and the Proposed Class and Subclass. Plaintiffs’ counsel have
  20 extensive experience litigating complex litigation and class actions, including
  21 complex litigation related to conditions of confinement in jails and prisons.
  22 Grunfeld Decl. ¶¶ 8-27. They have committed substantial resources to this
  23 litigation, including retaining experts and e-discovery services. Id. ¶¶ 2-7.
  24                  E.    Defendants’ Generally Applicable Conduct Requires Relief
  25                  Class certification is appropriate when “the party opposing the class has acted
  26 or refused to act on grounds that apply generally to the class, so that final injunctive
  27 relief or corresponding declaratory relief is appropriate respecting the class as a
  28 whole.” Fed. R. Civ. P. 23(b)(2). “The key to the (b)(2) class is ‘the indivisible
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   1 nature of the injunctive and declaratory remedy warranted—the notion that the
   2 conduct is such that it can be enjoined or declared unlawful only as to all of the class
   3 members or as to none of them.’” Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338,
   4 360 (2011) (quotation marks omitted); see also William B. Rubenstein, Newberg on
   5 Class Actions § 4:28 (5th ed. 2018) (Rule 23(b)(2) “focuses on the defendant and
   6 questions whether the defendant has a policy that affects everyone in the proposed
   7 class in a similar fashion.”).
   8                  The Proposed Class and Subclass meet Rule 23(b)(2) requirements. All
   9 Proposed Class and Subclass members are subject to Defendants’ inadequate and
  10 dangerous policies and practices. Plaintiffs seek system-wide remedies.
  11                                            CONCLUSION
  12                  This Court has the power to do what experts and oversight bodies have for
  13 years been unable to do: require Defendants to remedy some of the most dangerous
  14 policies and practices at the Jail, stemming the tide of needless death and suffering
  15 inflicted on incarcerated people and their families. Plaintiffs respectfully request
  16 that the Court grant these motions and enter the Proposed Order.
  17
  18 DATED: May 2, 2022                            Respectfully submitted,
  19
                                                   ROSEN BIEN GALVAN & GRUNFELD LLP
  20
                                                   By: /s/ Van Swearingen
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  28
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